

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-68,903-01






VERNON ERWIN SATCHELL, Relator


v.


DALLAS DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. F06-20541 IN THE 282nd JUDICIAL DISTRICT COURT

FROM DALLAS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original jurisdiction
of this Court.  In it, he contends that he filed an application for a writ of habeas corpus, and a supplement
to that writ in the 282nd Judicial District Court of Dallas County, and that the district clerk has not filed the
supplement.  More than 35 days have elapsed, and neither the application nor the supplement have been
forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of  Dallas
County, is ordered to file a response, which may be made by: submitting the record on such habeas corpus
application; submitting a copy of a timely filed order which designates issues to be investigated, see McCree
v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); by stating that the nature of the claims asserted
in the application filed by Relator is such that the claims are not cognizable under Tex. Code Crim. Proc.
art. 11.07, § 3; or stating that Relator has not filed an application for habeas corpus in Dallas County.  This
application for leave to file a writ of mandamus shall be held in abeyance until the respondent has submitted
the appropriate response.  Such response shall be submitted within 30 days of the date of this order.

Filed: December 19, 2007

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